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                                                                  PRINT FORM            RESET FORM

                                                                                        Exhibit A
                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION

In Re: Ethicon Inc., Pelvic Repair System Products Liability Litigation
                            MDL No. 2327
                              Civil Action No. ____________
______________________________________________________________________________

                                  SHORT FORM COMPLAINT

   Come now the Plaintiff(s) named below, and for Complaint against the Defendants named

below, incorporate The First Amended Master Complaint in MDL No. 2327 by reference.

Plaintiff(s) further show the court as follows:

  1. Female Plaintiff

       ___________________________

  2. Plaintiff’s Spouse (if applicable)

       ___________________________

  3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator)

       ___________________________

  4. State of Residence

       ___________________________

  5. District Court and Division in which venue would be proper absent direct filing.

       ___________________________________________________________

       ___________________________________________________________

  6. Defendants (Check Defendants against whom Complaint is made):

               A. Ethicon, Inc.

               B. Ethicon, LLC

                                                                                      Revised: 1/4/13
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             C. Johnson & Johnson

             D. American Medical Systems, Inc. (“AMS”)

             E. American Medical Systems Holdings, Inc. (“AMS Holdings”)

             F. Endo Pharmaceuticals, Inc.

             G. Endo Health Solutions Inc. (f/k/a Endo Pharmaceuticals Holdings, Inc.)

             H. Boston Scientific Corporation

             I. C. R. Bard, Inc. (“Bard”)

             J. Sofradim Production SAS (“Sofradim”)

             K. Tissue Science Laboratories Limited (“TSL”)

             L. Mentor Worldwide LLC

             M. Coloplast A/S

             N. Coloplast Corp.

             O. Coloplast Manufacturing US, LLC

             P. Porges S.A.

 7. Basis of Jurisdiction

             Diversity of Citizenship

             Other: ______________________________

     A. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

             ___________________________

             ___________________________

             ___________________________




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     B. Other allegations of jurisdiction and venue:

     ________________________________________________________________________

     ________________________________________________________________________

     ________________________________________________________________________

     ________________________________________________________________________

 8. Defendants’ products implanted in Plaintiff (Check products implanted in Plaintiff)

            Prolift

            Prolift +M

            Gynemesh/Gynemesh PS

            Prosima

            TVT

            TVT-Oturator (TVT-O)

            TVT-SECUR (TVT-S)

            TVT-Exact

            TVT-Abbrevo

            Other

            _________________________________________

            _________________________________________

 9. Defendants’ Products about which Plaintiff is making a claim. (Check applicable
    products):

            Prolift

            Prolift +M

            Gynemesh/Gynemesh PS

            Prosima

            TVT


                                          3
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             TVT-Oturator (TVT-O)

             TVT-SECUR (TVT-S)

             TVT-Exact

             TVT-Abbrevo

             Other

            _________________________________________

            _________________________________________


 10. Date of Implantation as to Each Product:

             ________________________________

             ________________________________

             ________________________________


 11. Hospital(s) where Plaintiff was implanted (including City and State):

     __________________________________

     __________________________________


 12. Implanting Surgeon(s):

     ___________________________________

     ___________________________________



 13. Counts in the Master Complaint brought by Plaintiff(s):

             Count I – Negligence

             Count II – Strict Liability – Manufacturing Defect

             Count III – Strict Liability – Failure to Warn

             Count IV – Strict Liability – Defective Product


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          Count V – Strict Liability – Design Defect

          Count VI – Common Law Fraud

          Count VII – Fraudulent Concealment

          Count VIII – Constructive Fraud

          Count IX – Negligent Misrepresentation

          Count X – Negligent Infliction of Emotional Distress

          Count XI – Breach of Express Warranty

          Count XII – Breach of Implied Warranty

          Count XIII – Violation of Consumer Protection Laws

          Count XIV – Gross Negligence

          Count XV – Unjust Enrichment

          Count XVI – Loss of Consortium

          Count XVII – Punitive Damages

          Count XVIII – Discovery Rule and Tolling

          Other Count(s) (Please state factual and legal basis for other claims below):



    ________________________________________________________________________

    ________________________________________________________________________

    ________________________________________________________________________




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                                               Attorneys for Plaintiff
  Address and bar information:




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